Case 1:21-cr-00540-PLF Document9 Filed 08/25/21 Page 1of3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. ; MAGISTRATE NO. 21-MJ-507
TIMOTHY ALLEN HART, : VIOLATIONS:
: «©. 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in

: a Capitol Building)

> =©40 U.S.C. § 5104(e)(2)(G)

: (Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder, and the civil disorder obstructed, delayed, and
adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
Case 1:21-cr-00540-PLF Document9 Filed 08/25/21 Page 2 of 3

COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, TIMOTHY
ALLEN HART, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

restricted area within the United States Capitol and its grounds, where the Vice President and Vice
Case 1:21-cr-00540-PLF Document9 Filed 08/25/21 Page 3 of 3

President-elect were temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, willfully and knowingly engaged in disorderly and disruptive conduct within the United
States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and
disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly
conduct in that building of a hearing before or any deliberation of, a committee of Congress or
either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, TIMOTHY ALLEN
HART, willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
